cv \\%

Case 1:18-cr-00357-RDB Document 1 Filed 07/02/18 Page 1 of 5
\9

HMG:USAO#2016R00783

IN THE UNITED STATES DISTRICT COURT
FOR THE DI_STRICT OF MARYLAND

UNITED STATES OF AMERICA

 

cRIMINAL No. RDB-is- 35”]
v. (Conspiracy; 18 U.S.C. § 371)
MOHAMMAD QAMAR, : 7
Defendant.

...000...

_ c:) .
co § §§
INFORMATION -< c_, w _:»S_"
'.3¢' §§ '<.:3§-?_
.'”"‘ r' ""U>‘H
MQ_N_E_ §§ . t g;,:,-.~=
565 N ‘:5;?"";-_§
The United States Attorney for the District of Maryland charges: §§ § §§ ca
LMQQI_I_Q_T_I_<_)H § c,, §-\
ij C."_') z’_'.|
At times material to this information:
1. Defendant Mohammad Qamar (“Qarnar”) lived in New York, NeW York.
2.

Qamar owned and operated A Deel LLC, d/b/a Decker Mart (“Decker”), which
Was a convenience store located in Baltimore, Maryland.
3.

The Food Stamp Act of 1977, which was later renamed the Supplemental

Nutrition Assistance Program (“SNAP”), used federal tax dollars to subsidize low-income
households, and permit those households to obtain a more nutritious diet by increasing the food
purchasing power of eligible persons. SNAP Was jointly administered by the United States

Department of Agriculture (“USDA”), Food and Nutrition Service (“FNS”), together With
various state agencies

Case 1:18-cr-00357-RDB Doc'ument 1 Filed 07/02/18 Page 2 of 5

4. Title 7 of the Code of Federal Regulations, Section 273.2(3), prohibited an
authorized retail food store from accepting food stamp coupons in exchange for cash. Further,
Title 7 of the Code of Federal Regulations, Sections 278.2(a) and (h) provided that food stamp
coupons may “only be accepted from eligible households or the households’ authorized
representative, and only in exchange for eligible food.” Title 7 of the Code of Federal
Regulations, Section 271 .2 provided that food stamp coupons included “an electronic benefit
transfer card or personal identification number issued pursuant to the provisions of the Food
Stamp Act of 1977, as amended, for the purchase of eligible food.”

5 . In Maryland, SNAP Was administered by the Maryland Department of Human
Resources (“DHR”) and Was known as the Food Supplement Program (“FSP”). Maryland
implemented FSP, funded by SNAP, through an Electronic Benefits Transfer (“EBT”) y
system. FSP customers were issued plastic EBT Cards, which contained an embedded
magnetic stripe that stored basic information required for food purchases Retailers
approved by FNS to accept SNAP Were assigned an FNS authorization number and, in some
cases, were provided with a point of sale (“POS”) device to access the electronic funds
allocated to customer’s EBT Cards. POS devices in Maryland communicated With the
central Maryland EBT database, Which Was located in Texas, to debit a customer’s available
SNAP benefit balance for the value of eligible food items purchased

6. In order to participate in the SNAP as an authorized retailer, a business submitted
FNS Fonn 252, Food Stamp Program Application for Stores to FNS. As part of that application,
the store owner/manager certified that they understood and agreed that “trading cash for
Supplemental Nutrition Assistance Program benefits” Was a “violation” of SNAP regulations

2

Case 1:18-cr-00357-RDB Document 1 Filed 07/02/18 Page 3 of 5

\

7. In order to receive SNAP reimbursements, authorized retailers Were required to
establish a single authorized bank account into which EBT benefits from legitimate food stamp
transactions would be deposited.

THE CONSPIRACY AND ITS OB.]ECTS
8. Beginning in or about October 2015 and continuing until in or about August 2016,
in the District of Maryland and elsewhere, `
MOHAMMAD QAMAR,
the defendant herein, did combine, conspire, confederate and agree With at least one other person
to knowingly and Willingly execute a scheme and artifice to defraud, and to obtain more than
$250,000 from the U.S. Department of Agriculture and its SNAP program, by means of
materially false and fraudulent representations, and for the purpose of executing the scheme and
artifice to defraud, knowingly transmitted and caused to be transmitted, by means of wire
communication in interstate commerce, certain writings, signals, pictures and sounds.
METHODS AND MEANS

9. lt Was part of the conspiracy that QAMAR applied to participate in the SNAP
program.

10. It was further part of the conspiracy that USDA authorized Decker and QAMAR
to participate in the SNAP program based on documents submitted by QAMAR.

11.' lt Was further part of the conspiracy that QAMAR, a relative of QAMAR, and an
employee of Decker used bank accounts and engaged in financial transactions

12. lt was further part of the conspiracy that QAMAR and his employee caused EBT

POS devices in Maryland to electronically transmit interstate requests to authorize

3

Case 1:18-cr-00357-RDB Document 1 Filed 07/02/18 Page 4 of 5

transactions and deduct amounts from EBT customers’ available balances for unauthorized
and unlawful purposes.

13. lt was further part of the conspiracy that QAMAR and others caused the
Maryland EBT System (through the EBT contractor) to electronically transmit an interstate
signal that authorized electronic payment to the bank account of the convenience store.
Once the transaction vvas approved, information flowed back to the POS terminal
confirming that the cardholder’s account had been successfully debited.

14. It Was part of the conspiracy that QAMAR’s employee debited and caused to be
debited funds off an EBT card in multiple transactions to disguise the fraudulent nature of
the transactions

15. It was part of the conspiracy that QAMAR and his empioyee falsely and
fraudulently redeemed and caused to be redeemed from the United States government the
full amount of the EBT food stamp benefits charged on the EBT cards and caused this
money to be deposited into bank accounts controlled by QAIi/IAR and his relative.

v Overt Acts

16. In furtherance of the conspiracy and scheme to defraud and to affect the
objects thereof, at least one of the co-conspirators committed and caused to be committed, in
the District of Maryland and elsewh_ere, at least one of the following overt acts:

a. On or about December 6, 2015, QAMAR’s employee conducted two
separate SNAP transactions totaling $399.70 at Decker, on an EBT card ending in 2395, which

caused an interstate wire communication, in exchange for cash worth approximately half the

Case 1:18-cr-00357-RDB Document 1 Filed 07/02/18 Page 5 of 5

value of the transactions, approximately $200.

b. On or about April 12, 2016, at approximately 2:49 p.m., QAMAR’s
employee conducted a SNAP transaction of 331 1.79 at Decker, on an EBT card number
ending in 0995, which caused an interstate wire communication, in exchange for cash worth
approximately half the value of the transaction? approximately $155.

c. On or about August 15, 2016 at approximately 3:15 p.m., QAMAR’s

‘ employee conducted a SNAP transaction of $299.63 at Decker, on an EBT card number
ending in 2521, which caused an interstate wire communication, in exchange for cash worth
approximately half the value of the transaction, approximately $150.

d. ' On or about August 16, 2016 at approximately 11:02 a.m.,
QAMAR’s employee conducted a SNAP transaction of $253.27 at Decker, on an EBT
card number ending in 385_6, which caused an interstate wire communication, in exchange for
cash worth approximately half the value of the transaction, approximately $125.

e. On or about August 21, 2016 at approximately 2:05 p.m., QAMAR’s
employee conducted a SNAP transaction of $239.53 at Decker, on an EBT card number
ending in 4961, which caused an interstate wire communication, in exchange for cash worth

approximately half the value of the transaction, approximately $120.

 

18 U.S.C. § 371
s~_a,/s Q.M V/ /JW/@/
Date ROBERT K. HUR

UNITED STATES ATTORNE/Y

